                    Case 24-01898                   Doc 1             Filed 02/12/24 Entered 02/12/24 14:23:53                               Desc Main
                                                                        Document Page 1 of 17
 Fill in this information to identify your case:

 United States Bankruptcy Court for the:

               Northern District of Illinois

 Case number (If known):                            Chapter you are filing under:
                                                    ❑       Chapter 7
                                                    ❑       Chapter 11
                                                    ❑
                                                                                                                                           ❑ Check if this is an
                                                            Chapter 12
                                                    ✔
                                                    ❑       Chapter 13
                                                                                                                                               amended filing


Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                                           12/22
The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a joint case—and
in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,” the answer would be yes if
either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish between them. In
joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more
space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every
question.

 Part 1: Identify Yourself

                                               About Debtor 1:                                                 About Debtor 2 (Spouse Only in a Joint Case):
  1.   Your full name
                                               Juan
       Write the name that is on your          First name                                                      First name
       government-issued picture               C.
       identification (for example, your
                                               Middle name                                                     Middle name
       driver’s license or passport).
                                               Grimaldo
       Bring your picture identification       Last name                                                       Last name
       to your meeting with the trustee.

                                               Suffix (Sr., Jr, II, III)                                       Suffix (Sr., Jr, II, III)




  2.   All other names you have
       used in the last 8 years                First name                                                      First name

       Include your married or maiden
       names and any assumed, trade            Middle name                                                     Middle name
       names and doing business as
       names.
                                               Last name                                                       Last name
       Do NOT list the name of any
       separate legal entity such as a
       corporation, partnership, or LLC        Business name (if applicable)                                   Business name (if applicable)
       that is not filing this petition.
                                               Business name (if applicable)                                   Business name (if applicable)




  3.   Only the last 4 digits of your
                                               xxx - xx - 6           6    1   9                               xxx - xx -
       Social Security number or
       federal Individual Taxpayer             OR                                                              OR
       Identification number
                                               9xx - xx -                                                      9xx - xx -
       (ITIN)




Official Form 101                                              Voluntary Petition for Individuals Filing for Bankruptcy                                            page 1
                    Case 24-01898               Doc 1         Filed 02/12/24 Entered 02/12/24 14:23:53                                 Desc Main
                                                                Document Page 2 of 17
 Debtor 1            Juan                C.                          Grimaldo                                       Case number (if known)
                     First Name          Middle Name                 Last Name


                                          About Debtor 1:                                                 About Debtor 2 (Spouse Only in a Joint Case):


  4.   Your Employer Identification
                                                      -                                                               -
       Number (EIN), if any.              EIN                                                             EIN


                                                      -                                                               -
                                          EIN                                                             EIN




                                                                                                          If Debtor 2 lives at a different address:
  5.   Where you live
                                          324 Oakview Ave
                                          Number            Street                                        Number           Street




                                          Aurora, IL 60505
                                          City                                   State    ZIP Code        City                                  State     ZIP Code

                                          Kane
                                          County                                                          County

                                          If your mailing address is different from the one above,        If Debtor 2's mailing address is different from yours, fill
                                          fill it in here. Note that the court will send any notices to   it in here. Note that the court will send any notices to you
                                          you at this mailing address.                                    at this mailing address.


                                          Number            Street                                        Number           Street



                                          P.O. Box                                                        P.O. Box



                                          City                                   State    ZIP Code        City                                  State     ZIP Code




  6.   Why you are choosing this          Check one:                                                      Check one:
       district to file for bankruptcy
                                          ✔ Over the last 180 days before filing this petition, I
                                          ❑                                                               ❑ Over the last 180 days before filing this petition, I
                                                 have lived in this district longer than in any other            have lived in this district longer than in any other
                                                 district.                                                       district.

                                          ❑ I have another reason. Explain.                               ❑ I have another reason. Explain.
                                                 (See 28 U.S.C. § 1408)                                          (See 28 U.S.C. § 1408)




Official Form 101                                         Voluntary Petition for Individuals Filing for Bankruptcy                                                      page 2
                    Case 24-01898           Doc 1           Filed 02/12/24 Entered 02/12/24 14:23:53                             Desc Main
                                                              Document Page 3 of 17
 Debtor 1           Juan               C.                      Grimaldo                                        Case number (if known)
                    First Name         Middle Name             Last Name


 Part 2: Tell the Court About Your Bankruptcy Case


  7.   The chapter of the Bankruptcy   Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for
       Code you are choosing to file   Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
       under                           ❑     Chapter 7
                                       ❑     Chapter 11
                                       ❑     Chapter 12
                                       ✔
                                       ❑     Chapter 13



  8.   How you will pay the fee        ❑ I will pay the entire fee when I file my petition. Please check with the clerk's office in your local court for more
                                            details about how you may pay. Typically, if you are paying the fee yourself, you may pay with cash, cashier's
                                            check, or money order. If your attorney is submitting your payment on your behalf, your attorney may pay with
                                            a credit card or check with a pre-printed address.
                                       ✔ I need to pay the fee in installments. If you choose this option, sign and attach the Application for Individuals
                                       ❑
                                            to Pay The Filing Fee in Installments (Official Form 103A).

                                       ❑ I request that my fee be waived (You may request this option only if you are filing for Chapter 7. By law, a
                                            judge may, but is not required to, waive your fee, and may do so only if your income is less than 150% of the
                                            official poverty line that applies to your family size and you are unable to pay the fee in installments). If you
                                            choose this option, you must fill out the Application to Have the Chapter 7 Filing Fee Waived (Official Form
                                            103B) and file it with your petition.




  9.   Have you filed for bankruptcy   ✔ No.
                                       ❑
                                       ❑ Yes. District
       within the last 8 years?
                                                                                                When                        Case number
                                                                                                       MM / DD / YYYY

                                                 District                                       When                        Case number
                                                                                                       MM / DD / YYYY

                                                 District                                       When                        Case number
                                                                                                       MM / DD / YYYY




  10. Are any bankruptcy cases         ✔ No.
                                       ❑
                                       ❑ Yes. Debtor
       pending or being filed by a
       spouse who is not filing this                                                                                    Relationship to you
       case with you, or by a
       business partner, or by an                District                                     When                      Case number, if known
       affiliate?                                                                                    MM / DD / YYYY


                                                 Debtor                                                                 Relationship to you

                                                 District                                     When                      Case number, if known
                                                                                                     MM / DD / YYYY




  11. Do you rent your residence?      ✔ No. Go to line 12.
                                       ❑
                                       ❑ Yes. Has your landlord obtained an eviction judgment against you?
                                                  ❑ No. Go to line 12.
                                                  ❑ Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it
                                                       as part of this bankruptcy petition.




Official Form 101                                    Voluntary Petition for Individuals Filing for Bankruptcy                                                   page 3
                    Case 24-01898               Doc 1         Filed 02/12/24 Entered 02/12/24 14:23:53                              Desc Main
                                                                Document Page 4 of 17
 Debtor 1           Juan                   C.                       Grimaldo                                      Case number (if known)
                    First Name             Middle Name              Last Name


 Part 3: Report About Any Businesses You Own as a Sole Proprietor


  12. Are you a sole proprietor of         ✔ No. Go to Part 4.
                                           ❑
                                           ❑ Yes. Name and location of business
      any full- or part-time
      business?

      A sole proprietorship is a
      business you operate as an                Name of business, if any
      individual, and is not a separate
      legal entity such as a
      corporation, partnership, or LLC.         Number         Street

      If you have more than one sole
      proprietorship, use a separate
      sheet and attach it to this
      petition.
                                                City                                               State            ZIP Code

                                                Check the appropriate box to describe your business:

                                                ❑ Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                ❑ Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                ❑ Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                ❑ Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                ❑ None of the above

  13. Are you filing under Chapter         If you are filing under Chapter 11, the court must know whether you are a small business debtor or a debtor choosing to
      11 of the Bankruptcy Code,           proceed under Subchapter V so that it can set appropriate deadlines. If you indicate that you are a small business
      and are you a small business         debtor or you are choosing to proceed under Subchapter V, you must attach your most recent balance sheet, statement
      debtor or a debtor as defined        of operations, cash-flow statement, and federal income tax return or if any of these documents do not exist, follow the
      by 11 U.S. C. § 1182(1)?             procedure in 11 U.S.C. § 1116(1)(B).

      For a definition of small business   ✔ No.
                                           ❑             I am not filing under Chapter 11.

                                           ❑ No.
      debtor, see 11 U.S.C. §
      101(51D).                                          I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in the
                                                         Bankruptcy Code.

                                           ❑ Yes.        I am filing under Chapter 11, I am a small business debtor according to the definition in the
                                                         Bankruptcy Code, and I do not choose to proceed under Subchapter V of Chapter 11.

                                           ❑ Yes.        I am filing under Chapter 11, I am a debtor according to the definition in § 1182(1) of the Bankruptcy
                                                         Code, and I choose to proceed under Subchapter V of Chapter 11.




Official Form 101                                        Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 4
                    Case 24-01898            Doc 1        Filed 02/12/24 Entered 02/12/24 14:23:53                            Desc Main
                                                            Document Page 5 of 17
 Debtor 1           Juan                C.                      Grimaldo                                     Case number (if known)
                    First Name          Middle Name             Last Name


 Part 4: Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention


  14. Do you own or have any            ✔ No.
                                        ❑
                                        ❑ Yes.
      property that poses or is
      alleged to pose a threat of                 What is the hazard?
      imminent and identifiable
      hazard to public health or
      safety? Or do you own any
      property that needs immediate
      attention?                                  If immediate attention is needed, why is it needed?

      For example, do you own
      perishable goods, or livestock
      that must be fed, or a building
      that needs urgent repairs?

                                                  Where is the property?
                                                                              Number        Street




                                                                              City                                          State     ZIP Code




Official Form 101                                     Voluntary Petition for Individuals Filing for Bankruptcy                                   page 5
                    Case 24-01898            Doc 1        Filed 02/12/24 Entered 02/12/24 14:23:53                               Desc Main
                                                            Document Page 6 of 17
 Debtor 1           Juan                C.                      Grimaldo                                       Case number (if known)
                    First Name          Middle Name             Last Name


 Part 5: Explain Your Efforts to Receive a Briefing About Credit Counseling


  15. Tell the court whether you        About Debtor 1:                                                About Debtor 2 (Spouse Only in a Joint Case):
      have received a briefing
      about credit counseling.

      The law requires that you         You must check one:                                            You must check one:
      receive a briefing about credit
      counseling before you file for    ✔ I received a briefing from an approved credit
                                        ❑                                                              ❑ I received a briefing from an approved credit
      bankruptcy. You must truthfully        counseling agency within the 180 days before I                counseling agency within the 180 days before I
      check one of the following             filed this bankruptcy petition, and I received a              filed this bankruptcy petition, and I received a
      choices. If you cannot do so,          certificate of completion.                                    certificate of completion.
      you are not eligible to file.
                                             Attach a copy of the certificate and the payment              Attach a copy of the certificate and the payment
      If you file anyway, the court          plan, if any, that you developed with the agency.             plan, if any, that you developed with the agency.
      can dismiss your case, you will
      lose whatever filing fee you      ❑ I received a briefing from an approved credit                ❑ I received a briefing from an approved credit
      paid, and your creditors can           counseling agency within the 180 days before I                counseling agency within the 180 days before I
      begin collection activities            filed this bankruptcy petition, but I do not have a           filed this bankruptcy petition, but I do not have a
      again.                                 certificate of completion.                                    certificate of completion.
                                             Within 14 days after you file this bankruptcy petition,       Within 14 days after you file this bankruptcy petition,
                                             you MUST file a copy of the certificate and payment           you MUST file a copy of the certificate and payment
                                             plan, if any.                                                 plan, if any.
                                        ❑ I certify that I asked for credit counseling services        ❑ I certify that I asked for credit counseling services
                                             from an approved agency, but was unable to                    from an approved agency, but was unable to
                                             obtain those services during the 7 days after I               obtain those services during the 7 days after I
                                             made my request, and exigent circumstances                    made my request, and exigent circumstances
                                             merit a 30-day temporary waiver of the                        merit a 30-day temporary waiver of the
                                             requirement.                                                  requirement.
                                             To ask for a 30-day temporary waiver of the                   To ask for a 30-day temporary waiver of the
                                             requirement, attach a separate sheet explaining               requirement, attach a separate sheet explaining
                                             what efforts you made to obtain the briefing, why you         what efforts you made to obtain the briefing, why you
                                             were unable to obtain it before you filed for                 were unable to obtain it before you filed for
                                             bankruptcy, and what exigent circumstances                    bankruptcy, and what exigent circumstances
                                             required you to file this case.                               required you to file this case.

                                             Your case may be dismissed if the court is                     Your case may be dismissed if the court is
                                             dissatisfied with your reasons for not receiving a             dissatisfied with your reasons for not receiving a
                                             briefing before you filed for bankruptcy.                      briefing before you filed for bankruptcy.

                                             If the court is satisfied with your reasons, you must          If the court is satisfied with your reasons, you must
                                             still receive a briefing within 30 days after you file.        still receive a briefing within 30 days after you file.
                                             You must file a certificate from the approved agency,          You must file a certificate from the approved agency,
                                             along with a copy of the payment plan you                      along with a copy of the payment plan you
                                             developed, if any. If you do not do so, your case may          developed, if any. If you do not do so, your case may
                                             be dismissed.                                                  be dismissed.

                                             Any extension of the 30-day deadline is granted only           Any extension of the 30-day deadline is granted only
                                             for cause and is limited to a maximum of 15 days.              for cause and is limited to a maximum of 15 days.
                                        ❑ I am not required to receive a briefing about credit         ❑ I am not required to receive a briefing about credit
                                             counseling because of:                                        counseling because of:
                                             ❑ Incapacity. I have a mental illness or a mental             ❑ Incapacity. I have a mental illness or a mental
                                                               deficiency that makes me                                      deficiency that makes me
                                                               incapable of realizing or making                              incapable of realizing or making
                                                               rational decisions about finances.                            rational decisions about finances.
                                             ❑ Disability.     My physical disability causes me            ❑ Disability.     My physical disability causes me
                                                               to be unable to participate in a                              to be unable to participate in a
                                                               briefing in person, by phone, or                              briefing in person, by phone, or
                                                               through the internet, even after I                            through the internet, even after I
                                                               reasonably tried to do so.                                    reasonably tried to do so.
                                             ❑ Active duty. I am currently on active military              ❑ Active duty. I am currently on active military
                                                               duty in a military combat zone.                               duty in a military combat zone.

                                             If you believe you are not required to receive a               If you believe you are not required to receive a
                                             briefing about credit counseling, you must file a              briefing about credit counseling, you must file a
                                             motion for waiver of credit counseling with the court.         motion for waiver of credit counseling with the court.


Official Form 101                                     Voluntary Petition for Individuals Filing for Bankruptcy                                                   page 6
                    Case 24-01898                Doc 1       Filed 02/12/24 Entered 02/12/24 14:23:53                                 Desc Main
                                                               Document Page 7 of 17
 Debtor 1           Juan                  C.                       Grimaldo                                         Case number (if known)
                    First Name            Middle Name              Last Name


 Part 6: Answer These Questions for Reporting Purposes


  16. What kind of debts do you                16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as
      have?                                         “incurred by an individual primarily for a personal, family, or household purpose.”
                                                    ❑ No. Go to line 16b.
                                                    ✔ Yes. Go to line 17.
                                                    ❑
                                               16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain money
                                                    for a business or investment or through the operation of the business or investment.
                                                    ❑ No. Go to line 16c.
                                                    ❑ Yes. Go to line 17.
                                               16c. State the type of debts you owe that are not consumer debts or business debts.



  17. Are you filing under Chapter 7?          ✔
                                               ❑    No. I am not filing under Chapter 7. Go to line 18.

      Do you estimate that after any           ❑    Yes. I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
      exempt property is excluded                        administrative expenses are paid that funds will be available to distribute to unsecured creditors?
      and administrative expenses are                      ❑ No
      paid that funds will be available                    ❑ Yes
      for distribution to unsecured
      creditors?

  18. How many creditors do you                 ✔ 1-49
                                                ❑               ❑ 1,000-5,000             ❑ 25,001-50,000 ❑ 50,000-100,000 ❑ More than 100,000
      estimate that you owe?                    ❑ 50-99         ❑ 5,001-10,000
                                                ❑ 100-199       ❑ 10,001-25,000
                                                ❑ 200-999

  19. How much do you estimate your             ✔ $0-$50,000
                                                ❑                                  ❑ $1,000,001-$10 million                   ❑ $500,000,001-$1 billion
      assets to be worth?                       ❑ $50,001-$100,000                 ❑ $10,000,001-$50 million                  ❑ $1,000,000,001-$10 billion
                                                ❑ $100,001-$500,000                ❑ $50,000,001-$100 million                 ❑ $10,000,000,001-$50 billion
                                                ❑ $500,001-$1 million              ❑ $100,000,001-$500 million                ❑ More than $50 billion

  20. How much do you estimate your             ✔ $0-$50,000
                                                ❑                                  ❑ $1,000,001-$10 million                   ❑ $500,000,001-$1 billion
      liabilities to be?                        ❑ $50,001-$100,000                 ❑ $10,000,001-$50 million                  ❑ $1,000,000,001-$10 billion
                                                ❑ $100,001-$500,000                ❑ $50,000,001-$100 million                 ❑ $10,000,000,001-$50 billion
                                                ❑ $500,001-$1 million              ❑ $100,000,001-$500 million                ❑ More than $50 billion
 Part 7: Sign Below


  For you                        I have examined this petition, and I declare under penalty of perjury that the information provided is true and correct.
                                 If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13 of title 11, United
                                 States Code. I understand the relief available under each chapter, and I choose to proceed under Chapter 7.
                                 If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out this document, I
                                 have obtained and read the notice required by 11 U.S.C. § 342(b).
                                 I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.
                                 I understand making a false statement, concealing property, or obtaining money or property by fraud in connection with a
                                 bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519,
                                 and 3571.

                                   ✘ /s/ Juan C. Grimaldo
                                       Juan C. Grimaldo, Debtor 1
                                       Executed on 02/12/2024
                                                        MM/ DD/ YYYY




Official Form 101                                       Voluntary Petition for Individuals Filing for Bankruptcy                                                  page 7
                    Case 24-01898                  Doc 1        Filed 02/12/24 Entered 02/12/24 14:23:53                                 Desc Main
                                                                  Document Page 8 of 17
 Debtor 1           Juan                    C.                        Grimaldo                                        Case number (if known)
                    First Name              Middle Name               Last Name



   For your attorney, if you are                 I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility to
   represented by one                            proceed under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief available under
                                                 each chapter for which the person is eligible. I also certify that I have delivered to the debtor(s) the notice required by
   If you are not represented by an              11 U.S.C. § 342(b) and, in a case in which § 707(b)(4)(D) applies, certify that I have no knowledge after an inquiry
   attorney, you do not need to file this        that the information in the schedules filed with the petition is incorrect.
   page.

                                                 ✘ /s/ Vaughn White                                                     Date 02/12/2024
                                                      Signature of Attorney for Debtor                                        MM / DD / YYYY




                                                     Vaughn White
                                                     Printed name

                                                     VW LAW LLC
                                                     Firm name

                                                     1755 Park St Suite 200
                                                     Number       Street




                                                     Naperville                                                       IL      60563
                                                     City                                                             State   ZIP Code



                                                     Contact phone (312) 888-0131                       Email address vaughn@vaughnwhite.com


                                                     6198291                                                          IL
                                                     Bar number                                                       State




Official Form 101                                          Voluntary Petition for Individuals Filing for Bankruptcy                                                   page 8
Case 24-01898   Doc 1   Filed 02/12/24 Entered 02/12/24 14:23:53   Desc Main
                          Document Page 9 of 17
                 Case 24-01898                         Doc 1             Filed 02/12/24 Entered 02/12/24 14:23:53                                                      Desc Main
                                                                          Document Page 10 of 17

B2030 (Form 2030) (12/15)


                                                            United States Bankruptcy Court
                                                                                  Northern District of Illinois

In re        Grimaldo, Juan C.

                                                                                                                           Case No.

Debtor                                                                                                                     Chapter                      13


                                         DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR

1.      Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
        compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered
        or to be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:

        ✔ FLAT FEE
        ❑
        For legal services, I have agreed to accept ................................................................................................................................................
                                                                                                                                                                       $4,562.00

        Prior to the filing of this statement I have received ................................................................................................................................................
                                                                                                                                                                      $1,200.00

        Balance Due ................................................................................................................................................      $3,362.00


        ❑ RETAINER
        For legal services, I have agreed to accept and received a retainer of ............................................................................................................................

        The undersigned shall bill against the retainer at an hourly rate of ..................................................................................................................................
        [Or attach firm hourly rate schedule.] Debtor(s) have agreed to pay all Court approved fees and
        expenses exceeding the amount of the retainer.

2.                   $0.00                  of the filing fee has been paid.

3.      The source of the compensation paid to me was:

        ✔ Debtor
        ❑                                ❑ Other (specify)
4.      The source of compensation to be paid to me is:

        ✔ Debtor
        ❑                                ❑ Other (specify)
5.      ✔ I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my
        ❑
        law firm.

        ❑ I have agreed to share the above-disclosed compensation with a other person or persons who are not members or associates of my
        law firm. A copy of the agreement, together with a list of the names of the people sharing in the compensation, is attached.

6.      In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

        a.      Analysis of the debtor' s financial situation, and rendering advice to the debtor in determining whether to file a petition in
                bankruptcy;




                                                                                                  Page 1 of 2
            Case 24-01898             Doc 1      Filed 02/12/24 Entered 02/12/24 14:23:53                             Desc Main
                                                  Document Page 11 of 17

B2030 (Form 2030) (12/15)


      b.   Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;

      c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;

7.    By agreement with the debtor(s), the above-disclosed fee does not include the following services:

      Representation of the Debtor(s) in any dischargeability actions or adversary proceedings.




                                                               CERTIFICATION

                        I certify that the foregoing is a complete statement of any agreement or arrangement for payment to
                me for representation of the debtor(s) in this bankruptcy proceeding.

                         02/12/2024                                               /s/ Vaughn White
                Date                                          Vaughn White
                                                              Signature of Attorney
                                                                                               Bar Number: 6198291
                                                                                                       VW LAW LLC
                                                                                              1755 Park St Suite 200
                                                                                                Naperville, IL 60563
                                                                                              Phone: (312) 888-0131

                                                                                   VW LAW LLC
                                                              Name of law firm




                                                                   Page 2 of 2
Case 24-01898   Doc 1   Filed 02/12/24 Entered 02/12/24 14:23:53   Desc Main
                         Document Page 12 of 17
Case 24-01898   Doc 1   Filed 02/12/24 Entered 02/12/24 14:23:53   Desc Main
                         Document Page 13 of 17
Case 24-01898   Doc 1   Filed 02/12/24 Entered 02/12/24 14:23:53   Desc Main
                         Document Page 14 of 17
Case 24-01898   Doc 1   Filed 02/12/24 Entered 02/12/24 14:23:53   Desc Main
                         Document Page 15 of 17
Case 24-01898   Doc 1   Filed 02/12/24 Entered 02/12/24 14:23:53   Desc Main
                         Document Page 16 of 17
Case 24-01898   Doc 1   Filed 02/12/24 Entered 02/12/24 14:23:53   Desc Main
                         Document Page 17 of 17
